                                      United States Bankruptcy Court
                                         District of New Mexico
In re:                                                                                  Case No. 14-12626-j
Tabitha Allegra Wilson                                                                  Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 1084-1           User: admin                     Page 1 of 2                Date Rcvd: Dec 29, 2014
                               Form ID: b18                    Total Noticed: 42


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 31, 2014.
db             +Tabitha Allegra Wilson,    164 Sagebrush Valley Rd,     Hagerman, NM 88232-9608
nfs            +Dustin J. Wilson,    183 W. Blevins Rd.,    Artesia, NM 88210-9353
3376812        +Allied Coll,    8550 Balboa Blvd Ste 232,    Northridge, CA 91325-5806
3376822       ++CREDIT ACCEPTANCE CORPORATION,     25505 WEST 12 MILE ROAD,    SOUTHFIELD MI 48034-8316
               (address filed with court: Credit Acceptance Corporation,       25505 W 12 Mile Rd,
                 Southfield, MI 48034-1846)
3376819         Chrysler Financial,    Credit Dispute,    27777,    Farmington Hills, MI 48334
3376820       #+Collection Resources,    1100 S Main ST Ste 20,     Las Cruces, NM 88005-2917
3376821        +Conserve,    PO Box 7,   Fairport, NY 14450-0007
3376823        +Dona Ana Collections SVC,     1100 S Main St Ste 20,    Las Cruces, NM 88005-2917
3376824        +Dr. Kim P. Lark, DO,    2402 W Pierce St Suite 4A,     Carlsbad, NM 88220-3577
3376825         EOS CCA,   700 Longwater Dr,     Norwell, MA 02061-1624
3376828         FedLoan Servicing Credit,     PO Box 60610,   Harrisburg, PA 17106-0610
3376826        #Federal Bond Collection,    2200 Byberry RD Ste 120,     Hatboro, PA 19040-3739
3376827        +Federal Investors Servicing Corp,     814 N Highway 385,    Levelland, TX 79336-9401
3376830        +HlthCare Col,    2432 W Peoria Ave Ste 4 1060,     Phoenix, AZ 85029-4797
3376832        +James Polk Stone Community Bank,     109 E 2nd St,    Portales, NM 88130-6203
3376833         MAB&T-Milestone,    216 W 2nd St,    Dixon, MO 65459-8048
3376834        +Marshall Decker,    130 Sage Brush Valley RD,     Hagerman, NM 88232-9608
3376835        +Marshall Decker,    130 Sagebrush Valley Rd,     Hagerman, NM 88232-9608
3376836        +Michael G Lim MD,    2402 W Pierce St Ste 1B,     Carlsbad, NM 88220-3594
3376837         Navy Federal Credit Union,     Attn: CBR Disputes,    PO Box 3700,   Merrifield, VA 22116-3700
3376838         New Mexico State University,     1780 E University Ave,    Las Cruces, NM 88003-1229
3376839        +Provida Life Sciences,    2440 Clements Ferry Rd.,     Charleston, SC 29492-7735
3376840        +Revenu Entrp,    3131 S Vaughn Way Ste 426,    Aurora, CO 80014-3508
3376843        +The Advantage Group,    5310 Homestead Rd. NE Bldg. 1B,      Albuquerque, NM 87110-1524
3376844        +Tri Core Reference Laboratories,     PO Box 441368,    Aurora, CO 80044-1368
3376846        +Wells Fargo,    PO Box 84712,    Sioux Falls, SD 57118-4712

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +EDI: ATLASACQU.COM Dec 29 2014 23:43:00       Atlas Acquisitions LLC,    Attn: Avi Schild,
                 294 Union St.,   Hackensack, NJ 07601-4303
3376813        +EDI: CINGMIDLAND.COM Dec 29 2014 23:48:00       AT & T Mobility,    PO Box 6416,
                 Carol Stream, IL 60197-6416
3393102        +EDI: ATLASACQU.COM Dec 29 2014 23:43:00       Atlas Acquisitions LLC,    294 Union St.,
                 Hackensack, NJ 07601-4303
3376815        +EDI: CAPITALONE.COM Dec 29 2014 23:43:00       Cap One,   PO Box 30253,
                 Salt Lake City, UT 84130-0253
3376816         EDI: CAPITALONE.COM Dec 29 2014 23:43:00       Capital One,   PO Box 30281,
                 Salt Lake, UT 84130-0281
3376818        +E-mail/Text: bankruptcy@cavps.com Dec 29 2014 23:49:39       Cavalry Portfolio Services,
                 500 Summit Lake Drive, Ste 4A,    Valhalla, NY 10595-2323
3376817        +E-mail/Text: bankruptcy@cavps.com Dec 29 2014 23:49:38       Cavalry Portfolio Services,
                 500 Summit Lake Dr Ste 400,    Valhalla, NY 10595-2322
3376829         EDI: AMINFOFP.COM Dec 29 2014 23:48:00      First Premier,    3820 N Louise Ave,
                 Sioux Falls, SD 57107-0145
3376831         EDI: HFC.COM Dec 29 2014 23:43:00      HSBC Bank Nevada,    PO Box 5233,
                 Carol Stream, IL 60197-5233
3376867         EDI: NMTRD.COM Dec 29 2014 23:43:00      New Mexico Taxation & Revenue Department,      PO Box 8575,
                 Albuquerque NM 87198-8575
3376841        +EDI: DRIV.COM Dec 29 2014 23:48:00      Santander Consumer Usa,     8585 N Stemmons Fwy Ste 1100-N,
                 Dallas, TX 75247-3822
3376842         EDI: CHRYSLER.COM Dec 29 2014 23:43:00      TD Auto Finance,     PO Box 9223,
                 Farmington Hills, MI 48333-9223
3376845        +EDI: USAA.COM Dec 29 2014 23:43:00      USAA,    9800 Fredericksburg Rd,
                 San Antonio, TX 78288-0002
3376847         E-mail/Text: bankruptcydepartment@ncogroup.com Dec 29 2014 23:49:35
                 West Road Emergency Physicians,    C/O NCO Credit Services,     PO Box 8547,
                 Philadelphia, PA 19101
3376848         E-mail/Text: kaaron@wbartesia.com Dec 29 2014 23:49:26       Western Bank,    PO Box 500,
                 Artesia, NM 88211-0500
3376849        +E-mail/Text: bankruptcynotice@westlakefinancial.com Dec 29 2014 23:49:28         Westlake Financial,
                 4751 Wilshire Blvd Ste 100,    Los Angeles, CA 90010-3847
                                                                                               TOTAL: 16

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
3376814      ##+Bulldog Emergency Physicians,   PO Box 37607,   Philadelphia, PA 19101-0607
                                                                                               TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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District/off: 1084-1                  User: admin                        Page 2 of 2                          Date Rcvd: Dec 29, 2014
                                      Form ID: b18                       Total Noticed: 42


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 31, 2014                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 29, 2014 at the address(es) listed below:
              Arun A Melwani    on behalf of Debtor Tabitha Allegra Wilson
               melwaniarun@gmail.com;melwanilaw@gmail.com;mlpccourtemail@gmail.com;mlpccalendar@gmail.com;mlpcno
               ticeme@gmail.com
              Clarke C. Coll     clarkecoll@gmail.com, nm14@ecfcbis.com
              Ronald Andazola     on behalf of U.S. Trustee   United States Trustee ronald.andazola@usdoj.gov
              United States Trustee    ustpregion20.aq.ecf@usdoj.gov
                                                                                             TOTAL: 4




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B18 (Official Form 18)(12/07)

                                    United States Bankruptcy Court
                                               District of New Mexico
                                                  Case No. 14−12626−j7
                                                       Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Tabitha Allegra Wilson
    164 Sagebrush Valley Rd
    Hagerman, NM 88232
Last four digits of Social Security or other
Individual Taxpayer−Identification No(s)., (if any):
   xxx−xx−5319
Employer's Tax−Identification No(s)., /Other No(s) (if any):



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11 United States Code (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 12/29/14                                             Robert H. Jacobvitz
                                                            United States Bankruptcy Judge



                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                         IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes;

     c. Debts that are domestic support obligations;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
     while intoxicated;

     g. Some debts which were not properly listed by the debtor;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
     discharged;

     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
     compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
     Plan for federal employees for certain types of loans from these plans.


       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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